                                                                   STATE OF MONTANA, COUNTi/ OF LAKE
                                                                   Recorded 12/27/201903:44
                                                                   Microfilm 574452 PaulaA. Holle Recorder
                                                                   Fees $ 1 4.00 by WR Deputy




      AND WHEN RECORDED MAIL TO:
         3ndy_Wi[
       s^                    >^^._^^y\,\^>La
                     V^MT-^c\^y\
      Flled far Aecord at Request of:                       Space Above TTiis Line for Recorder's Use Only
      First American Title Company


    OrderNo.: 874074-BT
    ParcelNo.: 16506


                                            QUrrCLAIM DEED
    For Value Received

    Viking Investments, LLC

    do(es) hereby convey, release, remise and forever quit claim unto

    Candy Williams

    whose address is: 1^ Ll ^ S ^p0-(-.k A             TW.WI^           L^        ^i' £y ^V- ^, M~^ - 5-^<? ( I
    the following described premises situated in Flathead County, Montana to-wit:

        A PORTION OF THE N1/2SW1/4NEy4 OF SECHON 1, TOWNSHIP 26 NORTH, RANGE 19 WEST, P.M.M.,
        LAKE COUNTY, MONTANA, FURTHER SHOWN AND DESCRIBED AS BEING TRACT-A ON CERTIFICATE
        OF SURVEY N0. 4662, ON FILE IN THE OFFICE OF THE CLERK AND RECORDER OF LAKE COUNTT,
        MONTANA.

    together with its appurtenances.

    Dated: December ^\ W , 2019




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              /' a.-n R
Candy Lynn Williams, Manager




STATE OF        i mAri               )
                                     ss.
COUNTC OF      <^pt{^T \^f\^e
                                                           'Z.ttf
This instrument was acknowledged before me on December             . 2019, by Candy Lynn
Williams, Manager,    kiifiwn'V^^r^'XS^C'.^'^-^^^
                   " 'G^''    tp mo to bcjthc monaging mcn^cr pf.^endy Willioms.



                                                 Notary Public for the State oflZQ^tl
                                                 Residingat: ^Q'pBkliAlOQD H^TWTS
                                                                                        'V^
                                                 My Commission Expires: lo -o <°i -'T-0



                                                                 ^        MARLW HULL
                                                                  y^ aorARYws'jc'simwuw
                                                                      COMMISSION N0.702725
                                                                       COMM. EXP. 10/09/2022




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